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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

GAVIN/SOLMONESE LLC., a Delaware
Limited Liability Company

                     Plaintiff,                     Case No.: 1:16-cv-01086

        v.                                          Judge John R. Blakey

STEPHEN L. KUNKEL, an individual

                     Defendant.


      GAVIN/SOLMONESE LLC’S FIRST AMENDED COMPLAINT AND JURY DEMAND

        Plaintiff Gavin/Solmonese LLC (“Gavin/Solmonese”) by and through its undersigned

attorneys, hereby files this First Amended Complaint (the “Complaint”) against Defendant,

Stephen L. Kunkel (“Kunkel”), and alleges as follows:

                                     INTRODUCTION

        1.    In September 2013, Gavin/Solmonese hired Stephen Kunkel, a 50+ year-old

seasoned executive turnaround specialist, to assist Gavin/Solmonese’s corporate clients

with their business needs. Gavin/Solmonese assigned Kunkel to act as interim CEO of client

Soo Tractor Sweeprake, a farm equipment parts producer located in Sioux City, Iowa.

While assigned on that engagement, Kunkel apparently promoted young male employees to

positions for which they were not qualified, materially increased their pay and benefits,

provided them with gifts and loans, paid their personal debts, and from May 2014 through

December 2014, on multiple occasions made them take their pants down and physically

spanked their naked buttocks using belts, paddles and his hands. Based on their

allegations, as well as the photographs and video produced by one of these young men, it

appears the spankings caused alleged physical pain and injury and alleged emotional




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distress and humiliation. As a result of Kunkel’s conduct, Soo Tractor Sweeprake

terminated its $250,000+ per month engagement with Gavin/Solmonese, and two of the

young men brought sexual harassment and discrimination claims against Gavin/Solmonese

and Soo Tractor based on Kunkel’s conduct. Gavin/Solmonese has suffered damages in

excess of $1 million in lost revenue, damage to reputation and costs incurred in defending

and resolving the claims brought against it. Gavin/Solmonese brings this suit to hold

Kunkel financially liable for these damages and seeks punitive damages in light of the

willful and wanton nature of Kunkel’s conduct.

                                             PARTIES

        2.      Plaintiff Gavin/Solmonese LLC is a Delaware limited liability company with

its principal place of business in Wilmington, Delaware.

        3.      Defendant Stephen L. Kunkel is an individual who formerly was employed by

Gavin/Solmonese as Managing Director in Chicago, Illinois. Kunkel is a resident and citizen

of the State of Illinois.

                                  JURISDICTION AND VENUE

        4.      This Court has jurisdiction over the subject matter of this action pursuant to

28 U.S.C. § 1332(a). The parties are citizens of different states, and the matter in

controversy exceeds the sum or value of seventy-five thousand dollars ($75,000), exclusive

of interest and costs.

        5.      This Court has personal jurisdiction over Kunkel because Kunkel is a citizen

of the State of Illinois and resides within this district.

        6.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) and/or 28

U.S.C. § 1391(b)(3).



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                                FACTUAL ALLEGATIONS

A.      Overview of Gavin/Solmonese.

        7.    Gavin/Solmonese is a management consulting firm founded in 2012.

        8.    Gavin/Solmonese provides a variety of corporate turnaround solutions and

organizational effectiveness strategies to a broad range of clients throughout the United

States. Specifically, Gavin/Solmonese’s services include litigation consulting, corporate

recovery, turnarounds and interim management, mergers and acquisitions, and bankruptcy

and fiduciary services.

        9.    Gavin/Solmonese is often retained by companies faced with financial

difficulties to provide “turnaround” services. As part of these services, Gavin/Solmonese

evaluates the client’s current business, provides an assessment of the distressed business

and turnaround strategies available, formulates a preliminary action plan for implementing

the turnaround strategy, assesses financing and organizational resources, and recommends

changes as necessary.

        10.   Gavin/Solmonese     also    assists   clients   in   implementing     these

recommendations, either by providing interim management services or assisting with the

sale of the business.

        11.   Gavin/Solmonese’s professional employees each have significant experience

in advising companies on financial, organizational, and restructuring issues, as well as

implementation of strategies. These professionals often step in and serve as interim

management to Gavin/Solmonese’s clients in order to implement recommended changes.




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B.        Kunkel’s Employment With Gavin/Solmonese.

          12.    In or around August 2013, Gavin/Solmonese extended an offer of

employment to Kunkel as Managing Director in Chicago, Illinois, contingent upon a

successful background check.

          13.   At the time, Kunkel’s resume indicated that he had over 13 years of executive

leadership experience, including 8 years of experience in interim management and

corporate restructuring. Kunkel’s accolades also included service on the boards of directors

of several private companies and philanthropic service for religious and other charitable

organizations. Kunkel also came to Gavin/Solmonese from another well-respected

turnaround firm and had previously worked at other well-known and respected

turnaround firms.

          14.   From August 2013 through March 2014, Gavin/Solmonese paid Kunkel an

annual salary of $250,000, plus discretionary bonus.

          15.   Beginning April 1, 2014, Gavin/Solmonese paid Kunkel an annual salary of

$300,000, plus discretionary bonus.

          16.   Gavin/Solmonese also paid for the cost of Kunkel’s health insurance, which

totaled approximately $850 per month, and Kunkel was reimbursed for all business-related

expenses pursuant to Gavin/Solmonese’s expense reimbursement policy.

          17.   At all relevant times, Kunkel’s employment with Gavin/Solmonese was at-

will.

C.        Soo Tractor Retains Gavin/Solmonese’s Services.

          18.   On or around September 27, 2013, Soo Tractor Sweeprake Co. (d/b/a Radius

Steel) (“Old Soo”), a steel fabrication company that produces farming equipment, retained




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Gavin/Solmonese to provide advisory services to address the then-current business and

financial difficulties Old Soo was experiencing in its business generally and at its facilities in

Sioux City, Iowa (the “Facility”).

        19.    Gavin/Solmonese secured this engagement based on a referral by a business

contact and previous referral source of Ted Gavin’s (a founder of Gavin/Solmonese), with

whom Mr. Gavin had worked on a successful engagement previously.

        20.    After a telephonic interview between Mr. Gavin, Mr. Kunkel, and Old Soo’s

then-President and outside legal counsel, Old Soo engaged Gavin/Solmonese to evaluate

Old Soo’s financial and operating situation, assess alternatives in addressing changes in

sales revenue, and provide Old Soo with an assessment of business, operational, and

financial risks and options to restore Old Soo’s business to profitability.

        21.    Old Soo thereafter retained Gavin/Solmonese to provide an interim Chief

Executive Officer and Chief Financial Officer to assist in implementing Gavin/Solmonese’s

recommendations, with Kunkel acting as interim CEO and Ross Waetzman (“Waetzman”),

another Gavin/Solmonese employee, acting as interim CFO.

        22.    Pursuant to the parties’ Management Agreement (attached hereto as Exhibit

A), the parties agreed that Gavin/Solmonese, Kunkel, and Waetzman would perform such

services as independent contractors, not employees, of Old Soo.

        23.    Old Soo agreed to pay Gavin/Solmonese $180,000 per month through

December 31, 2013, and beginning January 1, 2014, Gavin/Solmonese charged Old Soo an

hourly rate that resulted in average monthly billings of approximately $260,000 per month,

plus necessary expenses.




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        24.   Between October 2013 and January 2015, Kunkel and Waetzman performed

services for Old Soo, and Old Soo paid Gavin/Solmonese millions of dollars for these

services.

        25.   Both Kunkel and Waetzman updated Old Soo’s owners and management of

developments directly and regularly. Old Soo’s outside attorneys and owners routinely

informed Gavin/Solmonese that Kunkel and Waetzman were performing well and were

having success in their efforts to turn around the company and prepare it for sale.

        26.   In or around December 2014, Old Soo and Gavin/Solmonese agreed to

extend the terms of the Management Agreement through April 2015, and Old Soo’s owners

asked Gavin/Solmonese to help sell Old Soo to a new owner.

        27.   At this same time, Old Soo agreed that upon closing of the sale,

Gavin/Solmonese was set to receive the Success Fee set forth in Section VI(E)(2) of the

Management Agreement if the sale was completed by April 30, 2015.

        28.   Gavin/Solmonese expected that the Success Fee would total between

$150,000 and $300,000. Gavin/Solmonese and Old Soo also agreed that Old Soo would

continue paying Gavin/Solmonese’s hourly fees pursuant to the Management Agreement

through the closing of the sale.

        29.   Beginning in or around January 2015, Gavin/Solmonese, in addition to its

managerial duties, undertook the process to solicit potential purchasers, perform any

necessary due diligence, and helped secure a buyer of Old Soo. The parties anticipated that

sale would be completed in April 2015.




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D.      Kunkel’s Interactions with Old Soo Employee, McMichael Mierau.

        30.   Although Gavin/Solmonese did not know it at the time, upon information and

belief, while acting as interim CEO of Old Soo, Kunkel took a special interest in several of

Old Soo’s young male employees, including McMichael Mierau (“Mierau”), an assembly

worker, and Alex Peterson (“Peterson”), a painter/powder coater on the assembly line.

        31.   Upon information and belief, Mierau returned to work in or around February

2014 after missing some work due to a back injury.

        32.   Upon information and belief, when Mierau returned to work, Mierau told

Kunkel about Mierau’s ongoing struggles with alcohol and substance abuse and other

intimate details about Mierau’s personal life.

        33.   Upon information and belief, Kunkel took a special interest in Mierau’s

professional and personal life, and told Mierau he wanted to help Mierau succeed. Despite

Mierau’s lack of education and experience and substance abuse issues that impacted his job

performance, Kunkel promoted Mierau to the position of Project Manager for Old Soo’s

newly created Special Projects Team, which came with an increase in salary and significant

increase in responsibility. In this new position, Mierau also began reporting directly to

Kunkel.

        34.   Upon information and belief, during this time, Mierau began to share more of

his personal history with Kunkel, including Mierau’s financial troubles and debt.

        35.   Upon information and belief, Kunkel gave Mierau approximately $3,000 for

past owed day care expenses for Mierau’s children, and an additional $900 to help pay off

Mierau’s car loan.




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        36.   Although Gavin/Solmonese did not know it at the time, upon information and

belief, in or around June 2014, Kunkel began to make statements to Mierau that Mierau

“needed his behind spanked” and needed to “have his ass spanked to become a man.”

        37.   Upon information and belief, in or around June 2014, when Mierau and

Kunkel were working late and were the only two employees remaining at the Facility,

Kunkel ordered Mierau to come with Kunkel to an office, ordered Mierau to take off

Mierau’s belt, required Mierau to bend over one of the file cabinets and spanked Mierau on

the buttocks with his belt approximately 9-10 times. Upon information and belief, during

this incident, Kunkel made comments about how Mierau needed to gain control of his

finances and become a man.

        38.   Upon information and belief, after this incident, Kunkel continued to

recommend and approve additional promotions and wage increases for Mierau,

representing that these promotions and raises were based on Mierau’s work performance.

        39.   Upon information and belief, Kunkel also began having Mierau assist Kunkel

with taking care of Kunkel’s personal and business expenses.

        40.   Upon information and belief, after this first incident, Kunkel and Mierau had

an argument over the phone. Upon information and belief, the next time Mierau and Kunkel

worked late together, Kunkel told Mierau that Mierau was behaving like a child and would

be punished for raising his voice to Kunkel.

        41.   Upon information and belief, Kunkel again brought Mierau into an office,

ordered Mierau to drop his pants and boxers and bend over Kunkel’s knee, and Kunkel

proceeded to spank Mierau’s naked bottom 8-10 times, causing welting.




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        42.   Upon information and belief, after this second incident, Kunkel gave Mierau

an additional $1,400 to pay for repairs to Mierau’s personal vehicle, including new brakes

and tires.

        43.   Upon information and belief, in or around September 2014, Kunkel told

Mierau to come with Kunkel to lunch to receive another punishment, and brought Mierau

to a local Hilton Garden Inn, where Kunkel was staying. Upon information and belief,

Kunkel ordered Mierau to drop his pants and bend over Kunkel’s knee and then Kunkel

proceeded to spank Mierau approximately 10 times.

        44.   Upon information and belief, Kunkel recommended and approved another

raise for Mierau after this third alleged spanking incident. In November 2014, Kunkel even

suggested to Ted Gavin that Mierau should become a member of the Board of Directors of

Old Soo.

E.      Mierau Reports Kunkel’s Conduct to Gavin/Solmonese.

        45.   On or around Friday, December 19, 2014, Mierau’s fiancé telephoned

Waetzman and asked if he knew where Mierau was. Mierau’s fiancé indicated that Mierau

had a history of alcohol and drug problems, and she was concerned that she could not get

in touch with Mierau.

        46.   Waetzman contacted Kunkel to ask if Kunkel knew of Mierau’s whereabouts,

as Mierau was scheduled to work that day.

        47.   Kunkel indicated that Mierau was at the Sioux City Hilton Garden Inn (the

“Hilton”) and was being watched to make sure he was okay.          Kunkel also provided

Waetzman with the room number where Mierau was located at that time.




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        48.   Upon information and belief, Kunkel had contacted Mierau when he did not

show up for work, located where Mierau had been drinking, and arranged to have Mierau

check into a room at the Hilton Garden Inn.

        49.   Mierau alleges that while in that hotel room, Kunkel removed Mierau’s

clothes, and once he was naked, Kunkel had physical sexually-oriented contact with Mierau

without Mierau’s consent.

        50.   Upon information and belief, the following day, Saturday, December 20,

2014, Mierau called Waetzman’s cell phone and was notably upset and crying. Upon

information and belief, during this phone call, Mierau stated that he felt like he was a

prisoner and reported that Kunkel had been sexually harassing Mierau. Specifically, Mierau

told Waetzman that Kunkel had been abusing Mierau by inflicting spankings on multiple

occasions as punishments.

        51.   Upon information and belief, Mierau also reported to Waetzman that Kunkel

had been providing financial assistance to Mierau and some other young male Old Soo

employees, and made several references to Kunkel using this financial support to influence

or take advantage of Mierau and the other young male employees.

        52.   That same day, Waetzman contacted Gavin/Solmonese managing director

and founding partner, Ted Gavin, to inform him of his conversation with Mierau and of

Mierau’s accusations against Kunkel. This was the first time Gavin/Solmonese was aware of

any issues or alleged wrongdoing of Kunkel.

        53.   Later that evening, Mierau called and informed Waetzman that Mierau was

back at home, and Waetzman suggested that Mierau speak with the Old Soo human




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resources department on Monday to discuss Mierau’s allegations, and offered to

accompany Mierau for this meeting.

        54.   Even later that same evening, Kunkel called Waetzman and said that

Waetzman was not allowed to take any further calls from Mierau’s fiancé and that Kunkel

would take all future calls from Mierau’s fiancé. Kunkel also stated that it was doubtful that

Mierau could continue to work for Old Soo.

        55.   Once Waetzman informed Ted Gavin of these accusations, Gavin/Solmonese

began an investigation and retained counsel to assist in that effort. Old Soo also had its

outside counsel perform an investigation on behalf of Old Soo, including interviewing the

Old Soo employees with potential information about Mierau’s allegations.

F.      Kunkel’s Denials and Attempts to Conceal His Conduct.

        56.   When Gavin/Solmonese confronted Kunkel about Mierau’s accusations,

Kunkel repeatedly denied the allegations and denied any inappropriate conduct. Kunkel

told Gavin/Solmonese’s counsel that Mierau was an alcoholic and drug addict, and was

completely fabricating the allegations against Kunkel.

        57.   During the week of December 22, 2014, Gavin/Solmonese instructed Kunkel

not to have any contact with Mierau until Gavin/Solmonese completed its investigation.

Kunkel agreed not to contact Mierau for any reason unless and until instructed otherwise.

        58.   Upon information and belief, in direct violation of Gavin/Solmonese’s

direction, Kunkel called Mierau on or around Saturday, December 27, 2014 to inquire

about Mierau’s well-being. Upon information and belief, Kunkel told Mierau that Mierau

could take as much time off work as he needed.




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        59.   Upon information and belief, Kunkel called Mierau again on or around

December 31, 2014 and asked Mierau about what Mierau had reported about the incident

at the Hilton Garden Inn. Upon information and belief, Kunkel told Mierau that Mierau

should not worry about the incident, should not speak with anyone about the incident, and

that if anyone were to call Mierau about the incident, Mierau should not make any

statements.

        60.   Upon information and belief, Kunkel told Mierau that Kunkel wanted to get

together with Mierau to discuss the situation and said that Mierau needed to have a cell

phone so that Kunkel could get in touch with him.

        61.   Upon information and belief, Kunkel also told Mierau that Kunkel could help

take care of Mierau’s hospital debts and medical expenses.

        62.   Upon information and belief, Kunkel also told Mierau that Mierau did not

need to repay the money that Kunkel had previously loaned Mierau.

        63.   Upon information and belief, on or around January 2, 2015, Kunkel met

Mierau at a Verizon Wireless store and purchased a new cellular phone for Mierau.

        64.   Upon information and belief, Kunkel also instructed Mierau not to tell anyone

that Kunkel had loaned Mierau money, and if anyone were to ask Mierau about the loan,

Mierau should respond that he did not know where the money came from.

        65.   Upon information and belief, when Mierau expressed concern that he did not

have any remaining paid time off work, Kunkel responded that Mierau could take as much

time off as he needed and that Mierau would continue to be paid.




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        66.   Upon information and belief, Kunkel also told Mierau that an attorney from

Old Soo’s outside counsel was conducting an investigation into some allegations against

Kunkel.

        67.   Upon information and belief, Kunkel also instructed Mierau that if Mierau

was contacted in connection with the investigation, Mierau should say that Kunkel did not

do anything unprofessional. Upon information and belief, Kunkel also instructed Mierau to

deny that Kunkel had been in touch with Mierau after the December 2014 Hilton incident.

        68.   Upon information and belief, Kunkel told Mierau that Kunkel thought it was

Waetzman who had made the allegations against Kunkel, and that Mierau should stay away

from Waetzman and not speak to Waetzman about Kunkel.

        69.   Upon information and belief, Kunkel also suggested that Mierau should sign a

statement denying that Kunkel had engaged in any inappropriate conduct and recanting

anything Mierau may have said about Kunkel’s misconduct.

        70.   Upon information and belief, Kunkel contacted Mierau again on Monday,

January 5, to confirm that Mierau would recant any accusations that Mierau had made

against Kunkel if Mierau was contacted by Old Soo’s outside counsel. Upon information

and belief, Kunkel again told Mierau to take as much time off work as he needed to address

his health issues.

        71.   Upon information and belief, Kunkel contacted Mierau again on Tuesday,

January 6 and told Mierau that Kunkel told Old Soo’s outside counsel that Mierau was

receiving medical treatment, and that it was no longer necessary for Mierau to speak with

Old Soo’s outside counsel about the accusations against Kunkel, and that the matter was

taken care of so Mierau did not have to worry about it anymore.



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        72.   Gavin/Solmonese became aware that Kunkel had contacted Mierau, in direct

violation of Gavin/Solmonese’s directions not to do so. When asked about these incidents,

Kunkel initially denied the extent and nature of his contacts with Mierau, and claimed he

was only attempting to assist Mierau with some employee benefits issues related to

Mierau’s planned stay in a halfway house.

        73.   Upon information and belief, Old Soo was conducting its own investigation

into the allegations and planned to interview Mierau and other Old Soo employees, but did

not want Gavin/Solmonese to speak with Mierau or any other Old Soo employees about the

allegations against Kunkel in connection with Gavin/Solmonese’s own investigation.

        74.   Because it was clear that Kunkel had refused to follow Gavin/Solmonese’s

directions and had been dishonest about the extent and nature of his late December/early

January contacts with Mierau, Gavin/Solmonese chose to terminate its relationship with

Kunkel and gave Kunkel the option to be terminated or to resign.

        75.   Kunkel resigned his employment on January 30, 2015.

G.      Old Soo Terminates its Relationship With Gavin/Solmonese.

        76.   On or around January 28, 2015, as Old Soo apparently was finishing its

investigation of the Kunkel matter, Old Soo notified Gavin/Solmonese that it was

terminating its engagement with Gavin/Solmonese.

        77.   Old Soo’s outside counsel specifically told Gavin/Solmonese that Old Soo had

terminated the engagement because of Kunkel’s conduct.

        78.   After that time, Gavin/Solmonese did not provide services to Old Soo, and

had no involvement in the business or decisions of Old Soo.




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        79.   Upon information and belief, the owners of Old Soo sold the assets of Old Soo

to the new owner, Soo Tractor, LLC (“New Soo”). New Soo hired many of the former Old

Soo employees, but either terminated or did not hire Mierau in March 2015.

        80.   Although Gavin/Solmonese had sought and identified possible purchasers of

Old Soo and was Old Soo’s exclusive agent for the sale pursuant to its agreement with Old

Soo, Gavin/Solmonese did not receive the agreed upon anticipated under the Management

Agreement due to Old Soo’s decision to terminate its relationship with Gavin/Solmonese

because of Kunkel’s actions.

H.      Mierau Files Claims Against Gavin/Solmonese, Soo Tractor, and Kunkel.

        81.   On or around April 15, 2015, Mierau filed a charge of discrimination with the

Iowa Civil Rights Commission against Old Soo, Gavin/Solmonese, and Kunkel, alleging sex

discrimination, harassment, and retaliation under the Iowa Civil Rights Act and Title VII.

Specifically, Mierau alleged that (i) Kunkel had sexually harassed him by forcing him to

endure spankings on several occasions, and (ii) he was terminated on March 17, 2015 in

retaliation for reporting Kunkel’s conduct to Old Soo.

I.      Kunkel’s Interactions with Old Soo Employee, Alex Peterson.

        82.   On or around March 20, 2015, another former young male Old Soo employee,

Alex Peterson (“Peterson”) filed a charge of discrimination with the Equal Employment

Opportunity Commission (the “EEOC”) against Old Soo / New Soo and Gavin/Solmonese.

        83.   Upon information and belief, before Kunkel began at Old Soo, Peterson had

worked for Old Soo as a powder coater. After Kunkel got to know Peterson, Kunkel

promoted Peterson to the Special Projects Team with Mierau and a few other young male

employees and increased Peterson’s pay.        With this promotion, Peterson also began



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reporting directly to Kunkel. Upon information and belief, Peterson had no education,

experience, or training for this position, and Peterson had been a consistently poor-

performing employee for Old Soo with chronic absenteeism problems.

        84.   Upon information and belief, in or around April 2014, Peterson missed a day

of work due to a tooth ache.

        85.   Upon information and belief, when Peterson returned to work, Kunkel called

Peterson into an office and said that because Peterson had missed work, Peterson had to

choose between having money taken from Peterson’s paycheck or being spanked. Upon

information and belief, Kunkel then ordered Peterson into an office and locked the door,

ordered Peterson to pull his pants and boxers down and bend over the desk, and then

Kunkel proceeded to hit Peterson with a belt 20-30 times and then with Kunkel’s hand

several times on Peterson’s naked bottom.

        86.   Upon information and belief, Kunkel threatened Peterson to keep this

incident between the two of them if Peterson wanted to keep his job.

        87.   Upon information and belief, Peterson reported this incident to his

supervisor at Old Soo, as well as to an Old Soo human resources employee, but they did not

address his complaints.

        88.   Upon information and belief, in or around May 2014, Kunkel again ordered

Peterson into an office and asked if Peterson had told anyone about the first punishment.

Upon information and belief, after Peterson denied telling anyone about the first

punishment, Kunkel instructed Peterson to pull down his pants and Kunkel proceeded to

again hit Peterson with a belt and Kunkel’s bare hand.




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        89.   Upon information and belief, Kunkel spanked Peterson with a belt again in or

around July 2014.

        90.   Upon information and belief, also around July 2014, Kunkel also paid for

Peterson’s dental bills and for repairs to Peterson’s personal vehicle. Upon information

and belief, Kunkel told Peterson that Kunkel would use a Company program for these

expenses, but Kunkel ultimately used Kunkel’s personal credit card for these payments.

        91.   Upon information and belief, after Kunkel provided these payments to

Peterson, in or around September 2014, Kunkel again spanked Peterson allegedly as

punishment for Peterson arguing with his supervisor.

        92.   Upon information and belief, while Peterson was out of work for a funeral,

Kunkel repeatedly sent Peterson text messages asking Peterson to “settle up.”

        93.   Upon information and belief, in or around November 2014, Peterson drove

Kunkel to another Old Soo facility and instructed Peterson to cut and sand a wooden

paddle, ordered Peterson to pull down his pants, and used the paddle to spank Peterson’s

buttocks numerous times. Peterson videotaped this incident.

        94.   Upon information and belief, in or around January 2015, while

Gavin/Solmonese and Old Soo were investigating the allegations about Kunkel, Kunkel

ordered Peterson to take time off work under the guise of taking care of child support and

custody issues in order to avoid Peterson talking with anyone as part of the investigation.

Upon information and belief, while Peterson was on leave, Kunkel began calling Peterson

and coming to his house uninvited, all while telling Peterson he could not return to work.

        95.   In his EEOC charge, Peterson alleged that Gavin/Solmonese and Old Soo had

allowed a sexually hostile work environment after Peterson reported Kunkel’s alleged



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sexual harassment to Old Soo, and retaliated against Peterson by terminating his

employment in or around March 2015.

        96.    Peterson did not claim that he contacted Gavin/Solmonese at any time to

report Kunkel’s behavior.

        97.    Gavin/Solmonese was forced to retain legal counsel to defend against and

resolve not only the charges filed by Peterson and Mierau, but also the other potential

common law and statutory claims held by the employees, at significant expense to

Gavin/Solmonese.

J.      Gavin/Solmonese Discovers Kunkel’s Additional Misconduct.

        98.    After Kunkel resigned from his employment, Gavin/Solmonese discovered

that Kunkel had engaged in additional misconduct, separate and apart from his conduct

towards Mierau and Peterson.

        99.    Gavin/Solmonese discovered that Kunkel had engaged in competitive

activities during his employment with Gavin/Solmonese and had diverted potential

business opportunities away from Gavin/Solmonese for Kunkel’s personal gain.

        100.   Specifically, on or around March 31, 2014, Kunkel identified Tamarack Ski

Resort (“Tamarack”) as a potential client for Gavin/Solmonese.

        101.   Kunkel asked another Gavin/Solmonese employee to enter Tamarack’s

information into Gavin/Solmonese’s Contact Relationship Management (“CRM”) and lead-

tracking system as a “pending” lead.

        102.   Kunkel reported numerous developments in securing Tamarack as a client

but, several months later, ultimately reported the lead to be “dead.” Gavin/Solmonese

never performed any work for Tamarack.



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        103.   After Kunkel’s employment with Gavin/Solmonese ended, Gavin/Solmonese

discovered that Kunkel had accepted an engagement with and performed services for

Tamarack while Kunkel was still employed by Gavin/Solmonese.

        104.   Specifically, Gavin/Solmonese learned that during his employment, Kunkel

had joined Tamarack’s Board of Directors and had performed services for and on behalf of

Tamarack that were the very same types of services Gavin/Solmonese performs for its

customers and clients.

        105.   Kunkel never reported these business opportunities to Gavin/Solmonese

during his employment, and did not inform Gavin/Solmonese that Kunkel had accepted an

engagement on his own from Tamarack or that he joined Tamarack’s Board of Directors or

performed any services for Tamarack at any time.

        106.   Instead, Kunkel improperly accepted this business opportunity on his own

behalf, depriving Gavin/Solmonese of this business.

        107.   Upon information and belief, Kunkel had asked Mierau to assist Kunkel with

Kunkel’s investment in or involvement with Tamarack LLC.

        108.   Upon information and belief, Kunkel instructed Mierau not to tell anyone else

at Gavin/Solmonese or Old Soo about Kunkel’s service on Tamarack’s Board of Directors.

        109.   Upon information and belief, Kunkel received current or future benefits for

the services Kunkel performed for Tamarack, all while Kunkel was still employed by

Gavin/Solmonese.

        110.   Kunkel also falsified his expense reports, by, among other things, submitting

duplicate slips for the same expenses, causing him to receive multiple reimbursements for

the same expense.



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        111.   Upon information and belief, Kunkel also submitted false reimbursement

requests, by, among other things, requesting reimbursement for non-business expenses

and for meals in cities on a date that Kunkel could not have been in the stated city.

        112.   As a result of Kunkel’s conduct, Gavin/Solmonese has suffered damages in

lost fees and commissions from Old Soo, compensation paid to Kunkel when he was acting

contrary to Gavin/Solmonese’s interest, expense reimbursements improperly paid to

Kunkel, attorneys’ fees and costs associated with defending and resolving the claims by

Mierau, Peterson and Old Soo, and other monetary damages yet to be determined.

        113.   As a result of Kunkel’s conduct, business and referral contacts of

Gavin/Solmonese have learned of these events and it has tarnished the business reputation

of Gavin/Solmonese and caused damages to Gavin/Solmonese’s reputation and future

business prospects.

        114.   Specifically,   in   or   around    December   2014,   (before   Old     Soo   or

Gavin/Solmonese were aware of Kunkel’s conduct), Old Soo’s outside counsel informed

Gavin/Solmonese that she was aware of two separate companies unaffiliated with Old Soo

that were in need of services Gavin/Solmonese provides.

        115.   At that time, Old Soo’s outside counsel informed Gavin/Solmonese that she

planned to recommend that the two companies use Gavin/Solmonese for these services,

and that she would provide the companies with Gavin/Solmonese’s contact information to

set up a meeting and discuss the potential business opportunities.

        116.   However, after Gavin/Solmonese and Old Soo became aware of Kunkel’s

conduct, Old Soo’s outside counsel informed Gavin/Solmonese that she could not follow

through on the referrals, due to Kunkel’s conduct.



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        117.   Since that time, Gavin/Solmonese has not been able to secure any additional

consulting work with any Iowa companies, nor has it received any further referrals from

Old Soo’s outside counsel.

        118.   Upon information and belief, Gavin/Solmonese’s difficulties in securing

additional clients in Iowa is due to the fact that other companies heard about Kunkel’s

conduct while providing services for Old Soo and due to the damage caused to a long-time

referral source for Gavin/Solmonese.

        119.   As a result of Kunkel’s conduct, Gavin/Solmonese has suffered monetary

damages that exceed $1 million.

                                       COUNT I
                               BREACH OF FIDUCIARY DUTY

        120.   Gavin/Solmonese repeats and realleges each and every allegation contained

in Paragraphs 1 through 119 as if fully stated herein.

        121.   Kunkel was employed in a position of trust and responsibility for

Gavin/Solmonese. In that capacity, Kunkel owed Gavin/Solmonese a fiduciary duty to treat

Gavin/Solmonese with the utmost candor, care, loyalty, full disclosure, and good faith.

        122.   Kunkel’s   fiduciary   duties   included a     duty of loyalty to        act   in

Gavin/Solmonese’s best interests at all times and not to engage in conduct that would be

harmful or detrimental to Gavin/Solmonese. Kunkel accepted this position of trust and

confidence.

        123.   While employed by Gavin/Solmonese, Kunkel breached his fiduciary duties

and his obligation to act with the utmost candor, care, loyalty, full disclosure, and good faith

by engaging in inappropriate and improper conduct directed towards Old Soo’s employees

and by attempting to hide this conduct from Old Soo and Gavin/Solmonese.


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        124.   Specifically, Kunkel improperly used his position of trust and confidence with

Gavin/Solmonese by recommending and approving promotions and wage increases for

Mierau and Peterson for the purpose of inducing Mierau and Peterson not to report

Kunkel’s improper behavior, that were unwarranted and otherwise would not have

occurred. These actions were undertaken solely for Kunkel’s personal benefit and were

harmful and detrimental to Gavin/Solmonese.

        125.   Specifically, these actions induced Mierau and Peterson not to report

Kunkel’s improper behavior so that Kunkel could continue engaging in the same improper

behavior in the future and to hide his improper behavior from his employer,

Gavin/Solmonese, in violation of Kunkel’s duty to act with the utmost candor, full

disclosure, and good faith in his position of trust and confidence with Gavin/Solmonese.

        126.   Kunkel’s actions in recommending and approving these promotions and

wage increases for the Old Soo employees violated Kunkel’s duty to act in

Gavin/Solmonese’s best interest at all times and not to engage in conduct that would be

harmful or detrimental to Gavin/Solmonese.

        127.   While employed by Gavin/Solmonese, Kunkel further breached his fiduciary

duty of loyalty and his obligation not to act in his own interest at the expense of

Gavin/Solmonese’s interests by usurping actual and/or potential corporate opportunities

rightfully belonging to Gavin/Solmonese, without Gavin/Solmonese’s knowledge or

consent.

        128.   Specifically, Kunkel breached his fiduciary duty of loyalty and his obligation

not to act in his own interest at the expense of Gavin/Solmonese’s interests by requiring

Old Soo employees to assist Kunkel in improperly usurping and misappropriating



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corporate opportunities belonging to Gavin/Solmonese for Kunkel’s personal financial

gain.

        129.   Kunkel’s actions constituted self-dealing at the expense of Gavin/Solmonese,

in breach of Kunkel’s fiduciary duties to Gavin/Solmonese.

        130.   Kunkel’s actions as described above were outside the scope of any lawful

business pursuits.

        131.   Kunkel’s breaches of his fiduciary duties deprived Gavin/Solmonese of the

fair and full value of Kunkel’s services while he was employed by Gavin/Solmonese.

        132.   Kunkel knew or reasonably should have known that Kunkel’s self-dealing

actions of usurping corporate opportunities properly belonging to Gavin/Solmonese was

harmful to Gavin/Solmonese.

        133.   Kunkel also knew or reasonably should have known that Kunkel’s actions

would cause Old Soo to terminate its agreement with Gavin/Solmonese and expose

Gavin/Solmonese to claims and potential litigation by Old Soo and its employees.

        134.   Kunkel also knew or should have known that his actions would be harmful to

Gavin/Solmonese’s reputation and would cause Gavin/Solmonese to suffer damages.

        135.   As a direct, proximate, and foreseeable consequence of Kunkel’s breaches of

his fiduciary duties to Gavin/Solmonese, Kunkel caused Gavin/Solmonese to suffer

economic damage in an amount to be determined at trial, including, but not limited to, lost

profits, reimbursement of all sums paid to Kunkel during the period of his breach, and

reimbursement of all costs incurred by Gavin/Solmonese in defending and resolving all

future claims against Gavin/Solmonese held by Old Soo’s former employees.




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        136.   Kunkel’s actions were intentional, malicious, and/or committed with reckless

disregard for the rights and interests of Gavin/Solmonese.

        137.   Because of the willful and malicious nature of Kunkel’s conduct, and his

abuse of his position of trust, the imposition of punitive damages is warranted.

        WHEREFORE, Gavin/Solmonese prays for judgment in its favor and against Kunkel

in an amount to be determined at trial in excess of $1 million, and for any such additional

and further relief that this Court deems appropriate.

                                       COUNT II
                                  UNJUST ENRICHMENT

        138.   Gavin/Solmonese repeats and realleges each and every allegation contained

in Paragraphs one through 1 through 137 as if fully stated herein.

        139.   Upon information and belief, Kunkel’s conduct, as alleged above, including

his unfair competition with Gavin/Solmonese through his usurpation of corporate

opportunities rightfully belonging to Gavin/Solmonese, conferred a benefit on Kunkel.

        140.   Kunkel has unjustly retained the benefit of his improper conduct, and has

been unjustly enriched in an amount to be determined at trial, and Gavin/Solmonese is

entitled to disgorgement of any and all profits, earnings, and compensation attributable to

Kunkel’s wrongful actions.

        141.   Kunkel’s actions as described above were outside the scope of any lawful

business pursuits.

        142.   Kunkel’s retention of such benefits violates the fundamental principles of

justice, equity, and good conscience.

        143.   Kunkel’s actions were intentional, malicious, and/or committed in reckless

disregard for the rights and interests of Gavin/Solmonese.


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        144.   Because of the willful, malicious and/or reckless nature of Kunkel’s conduct,

and his abuse of his position of trust, the imposition of punitive damages is warranted.

        WHEREFORE, Gavin/Solmonese prays for judgment in its favor and against Kunkel

in an amount to be determined at trial in excess of $1 million and for any such additional

and further relief that this Court deems appropriate.

                                    COUNT III
                      TORTIOUS INTERFERENCE WITH CONTRACT

        145.   Gavin/Solmonese repeats and realleges each and every allegation contained

in Paragraphs 1 through 144 as if fully stated herein.

        146.   At all times material to this case, Gavin/Solmonese had an existing contract

with Old Soo to provide services as set forth in the Management Agreement.

        147.   Kunkel had actual and/or constructive knowledge of this agreement between

Gavin/Solmonese and Old Soo.

        148.   Upon information and belief, despite this knowledge and without

justification, Kunkel intentionally interfered with this agreement by engaging in the

conduct as alleged above, including, but not limited to, engaging in inappropriate conduct

with Old Soo employees that Kunkel knew or should have known would cause Old Soo to

terminate its agreement with Gavin/Solmonese.

        149.   Kunkel knew or reasonably should have known that Kunkel’s actions would

be harmful to Gavin/Solmonese and would deprive Gavin/Solmonese of continued

payments from Old Soo through the sale of Old Soo as well as the expected commission

upon closing of the sale of Old Soo.

        150.   Kunkel’s actions as described above were outside the scope of any lawful

business pursuits.


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        151.   As a direct, proximate, and foreseeable consequence of Kunkel’s intentional

interference, Old Soo breached its agreement to continue to provide monthly payments for

Gavin/Solmonese’s services at least through the conclusion of the sale and to pay

Gavin/Solmonese a commission upon consummation of the sale, causing Gavin/Solmonese

to suffer economic damages in an amount to be determined at trial.

        152.   Kunkel’s actions were intentional, malicious, and committed in reckless

disregard for the rights and interests of Gavin/Solmonese.

        153.   Because of the willful and malicious nature of Kunkel’s conduct, and his

abuse of his position of trust, the imposition of punitive damages is warranted.

        WHEREFORE, Gavin/Solmonese prays for judgment in its favor and against Kunkel

in an amount to be determined at trial in excess of $1 million and for any such additional

and further relief that this Court deems appropriate.

                                 COUNT IV
        TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

        154.   Gavin/Solmonese repeats and realleges each and every allegation contained

in Paragraphs 1 through 153 as if fully stated herein.

        155.   Gavin/Solmonese had a reasonable expectancy of continuing its relationship

with Old Soo and receiving its hourly fees for all services performed, at least through the

sale of Old Soo’s business, in accordance with Gavin/Solmonese’s agreement with Old Soo

in or around October 2013 which was affirmed by Old Soo’s sole shareholder in November

2014 and which continued through the date on which Old Soo notified Gavin/Solmonese of

Old Soo’s decision to terminate the Management Agreement.

        156.   Gavin/Solmonese also had a reasonable expectancy and of receiving the

agreed-upon Success Fee set forth in the Management Agreement upon closing of the sale


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of Old Soo, also in accordance with Gavin/Solmonese’s agreement with Old Soo in or

around November 2014.

        157.   Gavin/Solmonese also had a reasonable expectancy in entering into future

business relationships based on referrals from Old Soo if Old Soo were satisfied with

Gavin/Solmonese’s services.

        158.   Specifically, Old Soo’s owners had charged Gavin/Solmonese to sell Old Soo,

and Gavin/Solmonese and Old Soo agreed to extend the terms of the Management

Agreement through consummation of the sale and to continue paying Gavin/Solmonese’s

hourly rates through the end of the sale. Old Soo also agreed to pay Gavin/Solmonese the

Success Fee set forth in the Management Agreement if the sale closed by April 30, 2015.

        159.   Kunkel was fully aware of Gavin/Solmonese’s reasonable expectancy that it

would continue its business relationship with Old Soo at least until the sale of Old Soo.

        160.   Kunkel was also fully aware that Gavin/Solmonese had a reasonable

expectancy to obtain future business opportunities based on referrals from Old Soo and/or

Old Soo’s outside counsel if Old Soo and its outside counsel were satisfied with

Gavin/Solmonese’s services.

        161.   Upon information and belief, Kunkel was specifically aware that Old Soo’s

outside counsel planned to recommend Gavin/Solmonese’s services to two companies

unrelated to Old Soo.

        162.   Kunkel was also fully aware that Gavin/Solmonese had a reasonable

expectancy to obtain future business opportunities based from other referral sources and

clients based on its strong reputation and favorable brand name in the market.




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        163.   On information and belief, despite having knowledge of Gavin/Solmonese’s

continuing expectancies, Kunkel purposefully and without justification interfered with

Gavin/Solmonese’s reasonable expectancies and valid business expectancies, including

future business opportunities, by engaging in the improper and wrongful conduct as

alleged above, including, but not limited to, engaging in inappropriate conduct with Old Soo

employees that Kunkel knew or should have known would cause Old Soo to terminate

Gavin/Solmonese’s services, would deprive Gavin/Solmonese of a valuable referral source

and would interfere with Gavin/Solmonese’s future business opportunities.

        164.   Kunkel knew or reasonably should have known that Kunkel’s actions would

be harmful to Gavin/Solmonese and would deprive Gavin/Solmonese of its legitimate and

valid business expectancies.

        165.   As a direct, proximate, and foreseeable consequence of Kunkel’s intentional

interference, Kunkel actions in fact deprived Gavin/Solmonese’s of its legitimate and valid

business expectancies.

        166.   Specifically, Kunkel’s intentional interference deprived Gavin/Solmonese of

the monthly billings through consummation of the sale of Old Soo, as well as the Success

Fee that Old Soo had agreed to pay Gavin/Solmonese upon closing of a sale of Old Soo.

        167.   Kunkel’s intentional interference also specifically deprived Gavin/Solmonese

of the two business opportunities previously identified by Old Soo’s outside counsel which

Old Soo’s outside counsel would have referred to Gavin/Solmonese but for Kunkel’s

misconduct.

        168.   Kunkel’s actions as described above were improper and outside the scope of

any lawful business pursuits.



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        169.     Kunkel’s intentional interference caused Gavin/Solmonese to suffer

economic damages in an amount to be determined at trial.

        170.     Kunkel’s actions were purposeful, improper, intentional, malicious, and

committed in reckless disregard for the rights and interests of Gavin/Solmonese.

        171.     Because of the willful and malicious nature of Kunkel’s conduct, and his

abuse of his position of trust, the imposition of punitive damages is warranted.

        WHEREFORE, Gavin/Solmonese prays for judgment in its favor and against Kunkel

in an amount to be determined at trial in excess of $1 million and for any such additional

and further relief that this Court deems appropriate.

                                           COUNT V
                                            FRAUD

        172.     Gavin/Solmonese repeats and realleges each and every allegation contained

in Paragraphs 1 through 171 as if fully stated herein.

        173.     Kunkel also engaged a scheme to defraud Gavin/Solmonese for Kunkel’s own

personal gain.

        174.     Specifically,   Gavin/Solmonese   employees   are   required      to   submit

documentation of business expenses through Gavin/Solmonese’s time and expense

reporting program in order to receive reimbursement of these business expenses.

Employees are also required to indicate the particular client to which each business

expense relates.

        175.     Kunkel falsely stated that he was entitled to reimbursement from

Gavin/Solmonese with the intent to fraudulently induce Gavin/Solmonese into paying

Kunkel for business expenses that were improperly charged multiple times or fabricated,




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and Kunkel’s statements did in fact fraudulently induce Gavin/Solmonese into paying

Kunkel for these improperly charged business expenses.

        176.   Kunkel’s false statements were material because Gavin/Solmonese would

not have provided these payments to Kunkel if it would have known of Kunkel’s fraudulent

conduct.

        177.   By submitting these expense reimbursement requests, Kunkel intended that

Gavin/Solmonese rely on Kunkel’s statements to Gavin/Solmonese’s detriment.

        178.   Gavin/Solmonese reasonably relied on Kunkel’s false statements because

Kunkel was a high-level professional employee and Gavin/Solmonese relied on him to act

in Gavin/Solmonese’s best interests.

        179.   Kunkel also intentionally concealed his fraudulent scheme by billing these

expenses to different expense codes so that the entries would not appear next to each other

when Gavin/Solmonese was reviewing the monthly expense reports.

        180.   Kunkel’s actions as described above were outside the scope of any lawful

business pursuits.

        181.   As a direct, proximate, and foreseeable consequence of Kunkel’s false and

fraudulent statements, Kunkel caused Gavin/Solmonese to suffer damages in an amount to

be determined at trial.

        182.   Kunkel’s actions were intentional, malicious, and committed in reckless

disregard for the rights and interests of Gavin/Solmonese.

        183.   Because of the willful and malicious nature of Kunkel’s conduct, and his

abuse of his position of trust, the imposition of punitive damages is warranted.




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        WHEREFORE, Gavin/Solmonese prays for judgment in its favor and against Kunkel

in an amount to be determined at trial, and for any such additional and further relief that

this Court deems appropriate.

                                          JURY DEMAND

        Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a

trial by jury of all issues for which a jury trial is available.



Dated: April 21, 2016                               Respectfully submitted,
                                                    GAVIN/SOLMONESE LLC



                                                    By: /s/ Craig T. Boggs
                                                        One of Its Attorneys

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                                CERTIFICATE OF SERVICE


        I hereby certify that on April 21, 2016, I filed the foregoing using the Court’s ECF

system which caused the same to be served upon the following:



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